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 3
     Attorney for Defendant
 4   Sohail Amin
 5

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 7                          IN THE UNITED STATES DISTRICT COURT FOR THE
 8                                   EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                           )   Case No: 2:10-cr-00364-MCE
                                                         )
11                  Plaintiff,                           )   STIPULATION AND ORDER CONTINUING
                                                         )   STATUS CONFERENCE AND EXCLUDING
12          vs.                                          )   TIME UNDER THE SPEEDY TRIAL ACT
                                                         )
13   SAKANDER AMIN and SOHAIL AMIN,                      )   Date: 1-27-2011
                                                         )   Time: 9 a.m.
14                  Defendants.                          )   Crtrm: Honorable MORRISON C. ENGLAND
                                                         )   JR.
15                                                       )
                                                         )
16                                                       )
17          Defendants, through their undersigned counsel of record and plaintiff United States of America,

18   through its counsel, Assistant United States Attorney Michael Beckwith, agree and stipulate that the

19   current status conference set for January 27, 2011 at 9:00 a.m., in the above case shall be re-scheduled

20   for March 3, 2011 at 9:00 a.m., to allow more time for defense to counsel to review discovery. The

21   continuance will allow the defense to review the discovery in the case and thus be in a better position to

22   advise the court of the status of the case at the March 3, 2011 court date.

23          The parties further agree and stipulate that under 18 U.S.C. §3161( h) (7) (B) (iv), and Local

24   Code T4, time from the date of this stipulation shall be excluded from computation of time within which

25   the trial of this matter must be commenced under the Speedy Trial Act until and including, March 3,

26   2011, for counsel preparation time and to permit the parties to further investigate, review and complete

27   the exchange of discovery, and prepare the case for further proceedings.

28   ///
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 1   The parties further agree and stipulate that that the interests of justice served by granting the continuance
 2   outweigh the best interests of the public and the defendant in a speedy trial. The Court is advised that
 3   counsel have conferred about this request, that they have agreed on the March 3, 2011, date, and all
 4   counsel have authorized Mr. Hanly to sign this stipulation on their behalf.
 5
     Dated: January 25, 2011                                     /s/ Thomas Johnson
 6                                                               Attorney for Defendant
 7                                                               Sakander Amin

 8   Dated: January 25, 2011                                     /s/ Patrick K. Hanly
                                                                 Attorney for Defendant
 9                                                               Sohail Amin
10
                                                                 UNITED STATES ATTORNEY
11
     Dated: January 25, 2011                            by:      /s/ Michael Beckwith
12                                                               Assistant U.S. Attorney

13

14                                                      ORDER

15

16           Based on the stipulation of the parties and good cause appearing there from, the Court hereby

17   finds that the failure to grant a continuance in this case would deny both counsel reasonable time

18   necessary for effective preparation, taking into account the exercise of due diligence. The Court

19   specifically finds that the ends of justice served by the granting of such continuance outweigh the

20   interests of the public and the defendant in a speedy trial. Based on these findings and pursuant to the

21   stipulation of the parties, the Court hereby adopts the stipulation of the parties in its entirety as its Order.
     DATED: January 31, 2011
22
                                                    __________________________________
23
                                                    MORRISON C. ENGLAND, JR
24                                                  UNITED STATES DISTRICT JUDGE

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     U.S. v. Amin, Stipulation and Proposed Order Continuing Status Conference (2)                                  2
